          Case 1:17-cv-04179-DLC Document 99 Filed 03/27/18 Page 1 of 4




March 27, 2018                                                   MARANDA.FRITZ@THOMPSONHINE.COM
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Via ECF

Honorable Denise L. Cote
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

    Re:        SEC v. Alpine Securities Corp., Civil No.: 1:17-cv-04176-DLC-RLE

Dear Judge Cote:

I write in response to the Plaintiff’s letter dated March 23, 2018 regarding Defendant’s Rule
30(b)(6) deposition notice. As the SEC noted in its letter, the parties have discussed this issue
and have agreed that, if the Rule 30(b)(6) deposition proceeds, the Plaintiff would designate
James Lyman, who has already submitted a declaration in this case, as the witness. As
demonstrated below, Defendant maintains that this Plaintiff is not immune from the requirement
that it produce a 30(b)(6) witness and that the Rule 30(b)(6) deposition should proceed.

The SEC “is not immune from discovery pursuant to Rule 30(b)(6).” SEC v. McGinnis, 2015
WL 13505396, at *6 (D. Vt. Jan. 13, 2015) (confirming that “a Rule 30(b)(6) deposition may be
appropriate to discover facts known to a governmental agency”). Rather, that Rule “expressly
applies to a government agency” and such an agency is not entitled to “special consideration
concerning the scope of discovery, especially when [the agency] voluntarily initiates an action.”
SEC v. McCabe, 2015 U.S. Dist. LEXIS 67253 (D. Utah 2015) (allowing Rule 30(b)(6) of the
SEC in accordance with the maxim that “’discovery is not a one-way proposition” which “would
be like a boxing match in which only one boxer is allowed to throw punches”). Where the SEC
has sought to prevent a 30(b)(6) deposition based on claims of work product and other privileges,
courts have routinely held that “just like any party litigating in federal court, [defendant] has a
right to take a 30(b)(6) deposition from the SEC” subject to applicable privileges, and holding
that defendant was permitted to pursue a deposition concerning “the facts supporting the SEC’s
claims.” McGinnis, 2015 WL 13505396, at *6. See also Traveler’s Prop. Cas. Co. v. Daimler
Trucks, 2015 U.S. Dist. LEXIS 48760 (S.D.N.Y. Apr. 14, 2015) (permitting 30(b)(6) of
insurance company pursuing a subrogation claim as to “the underlying facts in support of
Traveler’s claims” even though carrier had no personal knowledge or involvement); SEC v.
Kramer, 778 F. Supp. 2d 1320 (M.D. Fla. 2011). This Plaintiff, like any other litigant, is
obligated to designate a 30(b)(6) witness to respond to proper inquiries relating to the “crux of
the underlying dispute.”


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          Case 1:17-cv-04179-DLC Document 99 Filed 03/27/18 Page 2 of 4




Honorable Denise L. Cote
March 27, 2018
Page 2

The decision in SEC v. Merkin, 283 F.R.D. 689 (S.D. Fla. 2012), has a particularly
comprehensive discussion of the SEC’s persistent efforts to avoid the obligations inherent in
Rule 30(b)(6), and the unwillingness of many courts to accede to the SEC’s position. Clear from
Merkin is that the SEC and other governmental agencies are not above the requirements
generally imposed on litigants, and that the permissibility of a Rule 30(b)(6) deposition
ultimately turns on whether the specific identified topics are designed to elicit facts relating to or
underlying the SEC’s claims:

       The concern that a 30(b)(6) deposition would risk disclosure of privileged
       information is not unique to cases involving the Government. To the contrary,
       private litigants routinely confront identical hazards and raise similar objections
       …

       The mere fact that it might be an SEC attorney preparing a government
       investigator as the designee instead of a private attorney preparing the client’s
       current or former employees is not a meaningful distinction. The privilege
       argument is identical – and if the argument is rejected in cases where private
       litigants seek to avoid a 30(b)(6) deposition (and it is) then there seems to be no
       reason to adopt a different result simply because the litigant happens to be a
       government agency.

Id. at 696-97.

The cases cited by the Plaintiff do not and could not support a claim that the SEC need not
comply with Rule 30(b)(6). In Morelli, for example, the SEC argued that Rule 30(b)(6) “is only
intended to apply ‘to actions in which a governmental agency or someone in its employ has
participated in the transactions or events in controversy or has actual knowledge of facts or
information relevant to the action.’” That claim was rejected by the court, citing a series of cases
which “have not construed Rule 30(b)(6) so narrowly.” The court then considered, and likewise
rejected, the SEC’s argument that the deposition was prohibited because the defendant was
effectively seeking to depose the plaintiff’s counsel, finding that “the SEC has failed to
demonstrate that the specific categories of information sought by defendant are privileged” and
instead “relies on the generalized assertion that the proposed deposition would necessarily
involve revealing ‘discussions with counsel.’” Eventually, because the defendant was actually
seeking to depose the SEC’s trial counsel, and because of the SEC’s “stated willingness to
respond to interrogatories” on the same issues, the court granted a motion relating to the Rule
30(b)(6). See also SEC v. Ahmed, 2017 U.S. Dist. LEXIS 54030 (D. Conn. Apr. 7, 2017)
(discussing cases that have, in some instances, prohibited a Rule 30(b)(6) of the SEC and other
cases that have allowed a Rule 30(b)(6)).
             Case 1:17-cv-04179-DLC Document 99 Filed 03/27/18 Page 3 of 4




Honorable Denise L. Cote
March 27, 2018
Page 3

Those cases hold no more than that there are certain topics that are not appropriate, and certain
circumstances that may support the SEC’s attempt to avoid the obligation to provide a Rule
30(b)(6) witness. But there are obvious and critical distinctions between those circumstances
that existed in Morelli and other cases cited by the Plaintiff, and this one. First, we understand
here that the designated witness would be James Lyman, not trial counsel. The SEC already
caused Mr. Lyman to submit an extensive declaration in this case in support of its Opposition to
Defendant’s Motion to Dismiss which contains extensive factual claims on a number of topics.
(See Dkt. No. 30-1.) The SEC’s affirmative use of James Lyman to press factual assertions in the
litigation constitutes a waiver of any privilege as to those areas about which he testified. Cf. SEC
v. Buntrock, 217 F.R.D. 441 (N.D. Ill. 2003) (where government’s affirmations were couched
only in “general terms,” held that no work product waiver had occurred); Reed v. Duree, 2018
WL 582442, at *1 (N.D. Cal. Jan. 26, 2018) (“If a party elects to use its attorney as a witness . . .
it ‘waive[s] the [work product] privilege with respect to matters covered in his testimony.’”
(alterations in original) (quoting U.S. v. Nobles, 422 U.S. 225, 239 and n.14 (1975) (holding
party waived work product privilege for by “electing to present the investigator as a witness” and
holding a party cannot “advance the work-product doctrine to sustain a unilateral testimonial use
of work-product materials”)). Second, the SEC has not agreed to provide other equivalent
discovery; to the contrary, it has refused to provide any responses to fairly common requests for
information concerning the allegations of the complaint, draping everything under the purported
cloak of privilege.1 Finally, and perhaps most importantly, in this case we included in the list of
topics only specific factual inquiries that are material to the plaintiff’s claims and that are, in
many instances, known only to the plaintiff.

The SEC, in its submission, quotes for the Court not one of those topics identified in the 30(b)(6)
notice, failing to demonstrate that the areas of inquiry are privileged and instead relying on the
same “generalized assertions” of privilege that were unsuccessful in Morelli. According to the
SEC, the Defendant is seeking impermissibly to probe “the Commission’s thought processes” or
work product. That is not the case. The Defendant is not interested in exploring the mental
processes of Plaintiff’s trial counsel. The Defendant is interested in, and entitled to discover, the
facts pertaining to certain of the SEC’s allegations, and the factual basis for the charges that have
been leveled against it. Here, the listed topics consist of specific and appropriate areas of
inquiry, many of which have been expressly held to be permissible in the cases cited by
Defendant. By way of example, because Mr. Lyman provided a declaration concerning inter alia
his purported discussions with various current and former employees of Alpine, those facts
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   For example, the SEC refused to produce any records related to the interviews it conducted, or that are related to the
Declaration of James Lyman on the basis that they are all “privileged,” and that it “has no non-privileged records responsive to
this request.” (See Plaintiff’s Response to Defendant’s RFP’s 7 and 25.) The SEC also refused to provide any responsive
information to Defendant’s interrogatories regarding factual basis for certain allegations in Plaintiff’s Complaint, or to identify
persons with knowledge regarding such allegations, on the basis of, inter alia, privilege. (See, e.g., Plaintiff’s Response to
Defendant’s Interrogatories 1-2, 4-5, 16-18.)
         Case 1:17-cv-04179-DLC Document 99 Filed 03/27/18 Page 4 of 4




Honorable Denise L. Cote
March 27, 2018
Page 4

relating to his assertions are identified in Topic 1. Because the statements and communications
involving FinCEN and, to a lesser extent, FINRA, are relevant to this case, we have identified
that as Topic 2. The SEC’s receipt and its handling of SARs, identified in Topics 3 and 4, is
information that only the SEC possesses and that has been injected into this case by the SEC in
its claims that the SARs filed by Alpine “prevented or impeded the ability of regulators in their
scrutiny of illicit actors.” Complaint ¶ 4. Topics 5 through 8 seek information regarding the
process employed by the SEC to deem SARs “deficient” including those items of guidance that
form the basis for the allegations in the complaint concerning purported regulatory requirements.
Topics 9 and 10 again involve critical information that only the SEC possesses: the instructions
that were given to those who conducted the examinations of broker-dealers including the extent
to which those instructions included or were consistent with the propositions that are advanced in
this case. Also critical to issues of notice and willfulness are Topics 13 through 15 which
address the plaintiff’s claim that Alpine was aware or advised by the regulators of purported “red
flag” requirements. The Rule 30(b)(6) notice includes also a number of standard requests for the
facts supporting a series of the particular claims in the Complaint. (Topic 18).

The SEC possesses no blanket immunity from the requirements of Rule 30(b)(6), and is entitled
to avoid having that obligation only if it demonstrates that the actual and specific topics do not
seek discoverable information, and that any concerns of privilege cannot be addressed in the
ordinary course of a deposition. In this case, the SEC skims over the actual topics identified by
Defendant, ignoring the fact that the particular topics constitute the critical inquiry. Here, the
topics consist of significant and permissible areas of inquiry, many injected by Plaintiff itself
through its filings, and Defendant should not be denied a fair opportunity to obtain discovery on
those issues.

Thank you for your consideration in this matter.

Respectfully,

/s/ Maranda E. Fritz

Maranda E. Fritz

cc:    All Counsel of Record (via ECF)
